Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 1 of 34 Page ID #:8




                         EXHIBIT 1
Electronically FILED by Superior Court of California, County of Los Angeles on 01/24/2020 04:30 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                  Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 2 of 34 Page ID #:9
                                                  20STCV03174
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Rico




                           1      KEMNITZER, BARRON & KRIEG, LLP
                                  ADAM J. MCNEILE             Bar No. 280296
                           2      KRISTIN KEMNITZER           Bar No. 278946
                                  42 Miller Ave., Third Floor
                           3      Mill Valley, CA 94941
                                  Telephone: (415) 632-1900
                           4      Facsimile: (415) 632-1901
                                  kristin@kbklegal.com
                           5      adam@kbklegal.com

                           6      Attorneys for Plaintiff ALICIA K. MICHALAK

                           7

                           8

                           9
                                                         IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         10
                                                                     IN AND FOR THE COUNTY OF LOS ANGELES
                         11

                         12       ALICIA K. MICHALAK, individually and on                                       Case No.
                                  behalf of the general public,
                         13                                                                                     COMPLAINT FOR INJUNCTIVE AND
                                                                    Plaintiff,                                  DECLARATORY RELIEF,
                         14                                                                                     RESTITUTION, AND DAMAGES FOR:
                                             vs.
                         15                                                                                     I.   VIOLATIONS OF THE REES-
                                  EXETER FINANCE LLC and DOES 1                                                      LEVERING AUTOMOBILE SALES
                         16       through 50, inclusive,                                                             FINANCE ACT, CIVIL CODE §2981,
                                                                                                                     ET SEQ.;
                         17                                         Defendants.                                 II. VIOLATIONS OF THE
                                                                                                                     ROSENTHAL FAIR DEBT
                         18                                                                                          COLLECTION PRACTICES ACT,
                                                                                                                     CIVIL CODE §1788, ET SEQ.;
                         19                                                                                     III. VIOLATIONS OF THE
                                                                                                                     CALIFORNIA CONSUMER
                         20                                                                                          CREDIT REPORTING AGENCIES
                                                                                                                     ACT, CIVIL CODE §1785.1, ET
                         21                                                                                          SEQ.; AND
                                                                                                                IV. VIOLATION OF THE UNFAIR
                         22                                                                                          COMPETITION LAW, BUSINESS
                                                                                                                     AND PROFESSIONS CODE §17200,
                         23                                                                                          ET SEQ.

                         24                                                                                     Unlimited Civil Case

                         25       ____________________________________/                                         JURY TRIAL DEMANDED

                         26                                                       PRELIMINARY STATEMENT

                         27                  1.          Plaintiff ALICIA K. MICHALAK (“Plaintiff”), on behalf of herself and the

                         28       general public, and in the public interest, brings this action against Defendants EXETER
                                                                                                            1
                                                                        Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 3 of 34 Page ID #:10



    1   FINANCE LLC (“EXETER”) and DOES 1 through 50 to address the unlawful, unfair, and

    2   deceptive practices of EXETER following the repossession of Plaintiff’s motor vehicle.

    3           2.      The Rees-Levering Automobile Sales Finance Act, Civil Code §2981, et seq. (the

    4   “Rees-Levering Act”) sets forth the bright-line rule that if a statutory post-repossession notice

    5   (commonly referred to as an “NOI”) does not strictly comply with the law, no deficiency balance

    6   may be collected. Because EXETER’s NOI does not comply with the law, EXETER’s attempts

    7   to collect on the alleged deficiency balance from Plaintiff was illegal.

    8           3.      EXETER’s statutory post-repossession notice is a form document. EXETER

    9   continues to send the same deficient NOI to members of the general public. EXETER is not

   10   entitled to a deficiency balance from members of the public to whom it issues such notice or has

   11   issued such notice in the past, and Plaintiff is seeking to enjoin EXETER from continuing to

   12   issue the defective notice or attempt to collect on deficiencies following issuing such notice

   13   pursuant to the Unfair Competition Law, Business & Professions Code §17200, et seq. (the

   14   “UCL”), as set forth in the prayer for relief. A public injunction is appropriate in this case, as

   15   EXETER has been and continues to issue defective NOI containing the same form violations to

   16   California consumers.

   17           4.      EXETER’s attempts to collect from Plaintiff also constitute violations of the

   18   Rosenthal Fair Debt Collection Practices Act, Civil Code §1788 et seq. (the “Rosenthal Act”),

   19   and EXETER has violated the California Consumer Credit Reporting Agencies Act, Civil Code

   20   §1785.1 et seq. (the “CCCRAA”) by continuing to report the non-existent deficiency balance on

   21   Plaintiff’s credit.

   22           5.      Plaintiff seeks appropriate relief, including declaratory relief, injunctive relief,

   23   damages, and attorneys’ fees, costs, and expenses.

   24                                                         PARTIES

   25           6.      Plaintiff ALICIA K. MICHALAK is an individual over the age of 18 years. At all

   26   times relevant herein, Plaintiff was, and currently is, a resident of the State of California, County

   27   of Los Angeles.

   28           7.      Defendant EXETER is a Delaware limited liability company which, at all times
                                                                     2
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 4 of 34 Page ID #:11



    1   relevant herein, was licensed to do business and was conducting business in the State of

    2   California and the County of Los Angeles. EXETER is engaged in the business of providing

    3   financing to purchasers of automobiles, and in debt collection on such accounts.

    4                                                DOE DEFENDANTS

    5          8.      DOES 1 through 50 are persons or entities whose true names and capacities are

    6   presently unknown to Plaintiffs and who therefore are sued by such fictitious names. Plaintiffs

    7   are informed, believe and thereon allege that each of the fictitiously named Defendants

    8   perpetrated some or all of the wrongful acts alleged herein-below, are responsible in some

    9   manner for the matters alleged herein, and are jointly and severally liable to Plaintiffs. Plaintiffs

   10   will seek leave of court to amend this Complaint to state the true names and capacities of such

   11   fictitiously named Defendants when ascertained.

   12                                                         AGENCY

   13          9.      Plaintiff is informed, believes and thereon alleges that at all times mentioned

   14   herein each Defendant, whether actually or fictitiously named, was the principal, agent (actual or

   15   ostensible), or employee of each other Defendant. In acting as such principal or within the course

   16   and scope of such employment or agency, each Defendant took some part in the acts and

   17   omissions hereinafter set forth, by reason of which each Defendant is liable to Plaintiff and to the

   18   members of the public for the relief prayed for herein.

   19                                        JURISDICTION AND VENUE

   20          10.     This Court has jurisdiction over Plaintiff’s claims because Plaintiff is a resident of

   21   California, and EXETER is qualified to do business in California and regularly conducts

   22   business in California.

   23          11.     Venue is proper in the County of Los Angeles because Plaintiff resides in the

   24   County of Los Angeles.

   25                                               OPERATIVE FACTS

   26          12.     Plaintiff purchased a used 2013 Kia Optima Hybrid on February 16, 2017. The

   27   dealership arranged financing for the purchase, and assigned the conditional sale contract to

   28   EXETER (a “RISC”). A copy of the RISC is attached hereto as Exhibit A.
                                                                     3
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 5 of 34 Page ID #:12



    1          13.     EXETER repossessed Plaintiff’s vehicle on November 4, 2019. EXETER mailed

    2   Plaintiff a written document dated November 5, 2019, titled “Notice of Our Plan to Sell

    3   Property,” stating that the vehicle had been repossessed and would be sold unless she redeemed

    4   the vehicle by paying the full balance remaining on the loan, or reinstated the contract. This

    5   document, commonly referred to as an “NOI” is attached hereto as Exhibit B. However, the NOI

    6   did not contain several of the disclosures mandated by Civil Code §§2983.2(a)(1)-(a)(9).

    7          14.     Plaintiff was unable to recover her vehicle. EXETER then sold the vehicle and

    8   assessed a deficiency balance of $12,902.64 against Plaintiff and demanded that she pay this

    9   amount to EXETER. A copy of this “Explanation of Calculation of Surplus or Deficiency” dated

   10   December 26, 2019 is attached hereto as Exhibit C. EXETER falsely represented to Plaintiff that

   11   she owed a deficiency balance when in fact she did not because of EXETER’s noncompliance

   12   with the Rees-Levering Act.

   13          15.     Plaintiff has suffered injury in fact and has lost money or property as a result of

   14   the unlawful, unfair, and fraudulent acts and practices of EXETER challenged herein.

   15          16.     Specifically, as a result of EXETER’s defective NOI, Plaintiff was not provided

   16   the information to which she was entitled in order to recover possession of her vehicle and

   17   ultimately lost possession of the vehicle and the equity she had put into it. Further, EXETER has

   18   damaged Plaintiff’s credit by reporting a deficiency balance to the credit reporting agencies that

   19   Plaintiff does not owe. Plaintiff has had to take time out of her day and use her cell phone, for

   20   which she is charged a monthly fee, to contact EXETER and various third parties to determine

   21   what she would have needed to do to get the vehicle back, because the NOI was defective.

   22                                             The Rees-Levering Act

   23          17.     A consumer’s right to a particularized notice after repossession is established by

   24   the provisions of the Rees-Levering Act. The Rees-Levering Act regulates the repossession and

   25   disposition of motor vehicles financed under conditional sale contracts in California, and, among

   26   other provisions, imposes strict requirements upon holders of conditional sale contracts, such as

   27   EXETER, following the repossession of a vehicle.

   28          18.     In order to protect consumers’ valuable property interests in financed vehicles,
                                                                    4
                                 Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 6 of 34 Page ID #:13



    1   and afford buyers a full opportunity to make an informed decision as to whether to exercise their

    2   statutory right to redemption or reinstatement, the Rees-Levering Act requires the seller or holder

    3   of the contract to issue a detailed NOI to the buyer following repossession. Civil Code §2983.2

    4   specifies the precise information and disclosures that must be included in the NOI in order to

    5   comply with the law.

    6             19.    Absent strict compliance with the mandatory requirements for the NOI, a seller or

    7   holder may not lawfully collect any deficiency from any person liable under a RISC following

    8   disposition of the repossessed vehicle. The Rees-Levering Act specifically provides that those

    9   persons “shall be liable for any deficiency only if the notice prescribed” only if the notice

   10   contains “all” of the disclosures mandated by the statute. Civil Code §2982.2(a) (emphasis

   11   added).

   12             20.    The Rees-Levering Act further specifies that no seller or holder may obtain a

   13   deficiency judgment, and “no deficiency judgment shall lie in any event,” against a person

   14   otherwise liable under a RISC after the repossession and disposition of a vehicle unless a court

   15   has determined, upon the affidavit of the seller or holder, or a hearing if the court so requires,

   16   that the sale or other disposition was in conformity with the provisions of the Rees-Levering Act.

   17   Civil Code §2983.8.

   18             21.    The NOI that EXETER issued Plaintiff following the repossession of his vehicle

   19   was materially defective and incomplete, and failed to inform Plaintiffs of all of their legal rights

   20   and obligations.

   21             22.    Specifically, the NOI sent by EXETER fails to comply with the strict

   22   requirements of the Rees-Levering Act for the reasons set forth below.

   23   a. Violation of Civil Code §2983.2(a)(1), Regarding the Consumer’s Right to Redeem the

   24       Vehicle

   25             Consumers owe deficiency balances only if the NOI “full the indebtedness evidenced by

   26   the contract until the expiration of 15 days from the date of giving or mailing the notice and

   27   provides an itemization of the contract balance and of any delinquency, collection or

   28   repossession costs and fees and sets forth the computation or estimate of the amount of any credit
                                                                     5
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 7 of 34 Page ID #:14



    1   for unearned finance charges or canceled insurance as of the date of the notice.” Civil Code

    2   §2983.2(a)(1).

    3          EXETER’s NOI fails to comply with the requirements of this section because the NOI

    4   fails to set forth an estimate for canceled GAP insurance. Plaintiff had purchased GAP insurance

    5   in the amount of $640.00. EXETER was required to estimate the estimated amount of canceled

    6   GAP insurance and subtracted that from the amount Plaintiff would have needed to pay to

    7   redeem the vehicle.

    8   b. Violation of Civil Code §2983.2(a)(2), Regarding the Consumer’s Right to Reinstate

    9       the Contract.

   10          Consumers owe deficiency balances only if the NOI “[s]tates either that there is a

   11   conditional right to reinstate the contract until the expiration of 15 days from the date of giving

   12   or mailing the notice and all the conditions precedent thereto or that there is no right of

   13   reinstatement and provides a statement or reasons therefore.” Civil Code §2983.2(a)(2). “[I]n

   14   requiring creditors to state ‘all the conditions precedent’ to reinstatement, the Legislature

   15   intended that creditors provide sufficient information to defaulting buyers to enable them to

   16   determine precisely what they must do in order to reinstate their contracts.” Juarez v. Arcadia

   17   Fin., Ltd. (2007) 152 Cal.App.4th 889, 899. Specifically, the consumer must be able to reinstate

   18   the contract “without need for further inquiry” on the part of the borrower and cannot require the

   19   consumer to make any calls. Id. at 904-06 (emphasis supplied) (If a consumer must call to

   20   reinstate, then “an unscrupulous creditor could take advantage of this situation by simply evading

   21   a buyer’s requests for the necessary information.”).

   22          EXETER’s NOI fails to comply with the requirements of this section because it fails to

   23   state all of the “conditions precedent” to reinstatement and requires “further inquiry,” as follows:

   24          i.        The NOI states “WE ARE UNAWARE OF ANY AMOUNTS THAT MAY

   25                    BECOME DUE TO THIRD PARTIES AFTER THE DATE OF THE NOTICE.”

   26                    This requires the consumer to make further inquiry to all third parties listed on the

   27                    NOI to determine what, if any, amounts will come due to those third parties after

   28                    the date of the notice.
                                                                      6
                                   Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 8 of 34 Page ID #:15



    1          ii.     The NOI states “The collateral may be transported to auction, and you will be

    2                  required to pay any additional but yet to be determined costs[,]” which requires

    3                  the consumer to make further inquiry to determine what “auction” costs the

    4                  consumer may have to pay.

    5          iii.    The NOI states, “If you exercise your right to redeem the Collateral or . . .

    6                  reinstate the Contract, the Collateral will be returned to you either at the

    7                  repossession agency or resale facility, depending on the date of redemption or

    8                  reinstatement.” The NOI further states, “For information regarding the location of

    9                  the Collateral, please call us at (800) 321-9637.” This requires the consumer to

   10                  make further inquiry to EXETER to determine where the vehicle would be on any

   11                  specific date.

   12   c. Violations of Civil Code §2983.2(a)(1), (a)(2), (a)(5), Government Code §26751, and

   13       Vehicle Code §28 Pertaining to the Government Fee Required for Redemption or

   14       Reinstatement

   15          Government Code §26751 and Vehicle Code §28 require the consumer to pay a state

   16   required fee of $15 to the law enforcement agency where the reported repossession was filed

   17   before the vehicle can be released. Government Code §26751 mandates that “any person in

   18   possession of the vehicle shall not release it to the debtor without first obtaining proof of

   19   payment of the fee to the sheriff.” Thus, not only must the consumer pay the $15 law

   20   enforcement fee, but upon retrieving the vehicle, the consumer must provide proof of payment of

   21   the fee to the storage facility. Otherwise the consumer cannot retrieve the vehicle. Thus,

   22   providing proof of payment of the fee is a necessary “condition precedent” to both reinstatement

   23   and redemption.

   24          The EXETER NOI fails to inform the consumer that proof payment of the fee must be

   25   made to the person in possession of the vehicle. Proof of payment of the fee to the required party

   26   is a necessary “condition precedent” to both reinstatement and redemption and per Juarez v.

   27   Arcadia Fin., Ltd. (2007) 152 Cal.App.4th 889, its omission is a further violation of Civil Code

   28   §§2983.2(a)(1) and 2983.2(a)(2).
                                                                    7
                                 Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 9 of 34 Page ID #:16



    1             23.   The NOI also violates other provisions of Civil Code §2983.2(a) not detailed

    2   herein.

    3             24.   The defective and improper NOI issued to Plaintiff, which EXETER continues to

    4   issue to members of the public purportedly pursuant to Civil Code §2983.2, deprives them of the

    5   statutorily-mandated notice, and are standard notices sent by EXETER as a practice and

    6   procedure.

    7             25.   Notwithstanding EXETER’s failure to comply with the mandatory NOI

    8   requirements of the Rees-Levering Act, EXETER has assessed, demanded, attempted to collect,

    9   and collected deficiency balances from borrowers, including Plaintiff, for which Plaintiff is not

   10   liable as a matter of law and which EXETER has no legal right to demand or to collect.

   11             26.   EXETER has made unlawful collection demands to Plaintiff and has falsely

   12   represented to Plaintiff that a deficiency balance is owed

   13             27.   At all relevant times, EXETER has had actual and/or constructive knowledge that

   14   Plaintiff is not liable for any deficiency balance as a matter of law as a result of its failure to

   15   comply with the Rees-Levering Act, but has nevertheless persisted in its unlawful collection

   16   activity.

   17             28.   EXETER and/or its agents regularly report or communicate to consumer credit

   18   reporting organizations that purported deficiencies following disposition of vehicles pursuant to

   19   the unlawful practices described herein are valid debts when, in fact, Plaintiff is not liable for a

   20   deficiency as a matter of law.

   21                                   FIRST CAUSE OF ACTION
        (Violations of the Rees-Levering Automobiles Sales Finance Act, Civil Code §2981, et seq.)
   22                      (By Plaintiff Against EXETER and Applicable DOES)
   23             29.   Plaintiff realleges and incorporates herein by reference the allegations in each and

   24   every paragraph above.

   25             30.   The Rees-Levering Act regulates automobile sale and financing transactions for

   26   motor vehicles purchased primarily for personal or family purposes. The conditional sale

   27   contract entered into by Plaintiffs are subject to and governed by the provisions of the Rees-

   28   Levering Act. EXETER is or was a “seller” or “holder” of said contracts as those terms are used
                                                                     8
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 10 of 34 Page ID #:17



     1   in the statute.

     2           31.       EXETER has engaged and is engaged in ongoing material violations of the Rees-

     3   Levering Act in that the NOI provided to Plaintiff and which continues to be provided to the

     4   public, ostensibly pursuant to Civil Code §2983.2(a), does not contain the statutorily-mandated

     5   disclosures and information required by Civil Code §2983.2(a). Thus EXETER deprived

     6   Plaintiff and continues to deprive the public of substantial rights granted them under the Rees-

     7   Levering Act, including the right to make an informed decision about whether to

     8   redeem/reinstate their contracts. Because EXETER has failed to provide Plaintiff and the public

     9   with all of the information and disclosures to which they were entitled under Civil Code

    10   §2983.2(a), Plaintiff and the public are not liable, under the explicit terms of §§2983.2(a) and

    11   2983.8 of the Rees-Levering Act, for any deficiency following the disposition of their

    12   repossessed motor vehicles. Nevertheless, without any legal right to do so, EXETER maintains

    13   that Plaintiffs and the public owe it for deficiency balances and has collected or attempted to

    14   collect such deficiency balances.

    15           32.       As a direct and proximate result of the acts hereinabove alleged and EXETER’s

    16   ongoing unlawful conduct, Plaintiff has been damaged in an amount to be proven at trial.

    17           33.       Plaintiff seeks recovery of their attorneys’ fees, costs and expenses incurred in the

    18   filing and prosecution of this action.

    19           WHEREFORE, Plaintiff prays for relief as set forth below.

    20                                 SECOND CAUSE OF ACTION
          (Violations of the Rosenthal Fair Debt Collection Practices Act, Civil Code §1788, et seq.)
    21                      (By Plaintiff Against EXETER and Applicable DOES)
    22           34.       Plaintiff realleges and incorporates herein by reference the allegations of each and

    23   every paragraph above.

    24           35.       The Rosenthal Act was enacted in 1976 to ensure the integrity of our banking and

    25   credit industry. Civil Code §1788.1(b). The California Legislature found that “unfair or

    26   deceptive debt collection practices undermine the public confidence which is essential to the

    27   continued functioning of the banking and credit system and sound extensions of credit to

    28   consumers.” Civil Code §1788.1(a)(2).
                                                                       9
                                    Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 11 of 34 Page ID #:18



     1          36.     EXETER at all times relevant herein was a “debt collector” within the meaning of

     2   Civil Code §1788.2(c). EXETER, regularly and in the ordinary course of business, on behalf of

     3   itself or others, engages in acts and practices in connection with the collection of consumer debt.

     4   EXETER had a non-delegable duty under the Rosenthal Act not to commit violations of the Act,

     5   and not to allow its agents to commit such violations, which duties EXETER itself was

     6   prohibited from violating.

     7          37.     The purported deficiency balance which EXETER attempted to collect from

     8   Plaintiffs was a “consumer debt” within the meaning of Civil Code §1788.2(f). Plaintiff is a

     9   “debtor” within the meaning of Civil Code §1788.2(h) in that they are natural persons from

    10   whom EXETER sought to collect a consumer debt alleged to be due and owing.

    11          38.     EXETER attempted to collect non-existent deficiency balances from Plaintiff by,

    12   among other things, conducting collections efforts in-house, reporting the deficiency balance to

    13   the credit reporting agencies as valid, and by making demands for payment, including by sending

    14   a deficiency notice.

    15          39.     EXETER made false representations to Plaintiff that she owed a debt, and the

    16   amount and legal status of the alleged debt, by sending Plaintiff a standardized form demand

    17   letter, in which EXETER stated that Plaintiff “must pay” her alleged deficiency balance, when

    18   she was under no obligation to pay. This was a violation of Civil Code §1788.17 (through

    19   violation of 15 U.S.C. §1692e, including §1692e(2)).

    20          40.     EXETER attempted to collect on a debt that is not permitted by law by attempting

    21   to collect on a legally non-existent post-repossession deficiency balance. EXETER’s conduct

    22   violated 15 U.S.C. §1692f, including §1692f(1), incorporated into the Rosenthal Act by Civil

    23   Code §1788.17.

    24          41.     As a proximate result of EXETER’s violations of the Rosenthal Act, Plaintiff has

    25   been damaged in an amount that is subject to proof.

    26          42.     Plaintiff is entitled to recover their actual damages pursuant to Civil Code

    27   §1788.17, incorporating by reference 15 U.S.C. §1692k(a)(1), or in the alternative, Civil Code

    28   §1788.30(a).
                                                                    10
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 12 of 34 Page ID #:19



     1          43.     EXETER’s violations of the Rosenthal Act were willful and knowing, thereby

     2   entitling Plaintiffs to recover statutory damages pursuant to Civil Code §1788.17, which

     3   incorporates by reference the remedies of 15 U.S.C. §1692k(a)(2)(A), or in the alternative, Civil

     4   Code §1788.30(b).

     5          44.     Plaintiff is entitled to attorneys’ fees and costs pursuant to Civil Code §1788.17,

     6   incorporating by reference 15 U.S.C. §1692k(a)(3), or in the alternative, Civil Code §1788.30(c).

     7          WHEREFORE, Plaintiffs pray for relief as set forth below.

     8                                        THIRD CAUSE OF ACTION
          (Violation of the California Consumer Credit Reporting Agencies Act, Civil Code §1785.1 et seq.)
     9                        (By Plaintiff Against EXETER and Applicable Does)
    10          45.     Plaintiff realleges and incorporates by reference the allegations set forth above.

    11          46.     EXETER violated Civil Code §1785.25(a) by furnishing information on a specific

    12   transaction or experience to a consumer credit reporting agency when EXETER knew or should

    13   know have known the information was incomplete or inaccurate.

    14          47.     EXETER knew from the time EXETER sent the NOI that Plaintiff would not owe

    15   any deficiency balance on their account, due to EXETER’s violations of the Rees-Levering Act.

    16   However, as to Plaintiff, EXETER reported a deficiency balance on their credit.

    17          48.     Plaintiff has suffered actual damages as a result of EXETER’s unlawful acts,

    18   including but not limited to credit damage, court costs, and pain and suffering.

    19          49.     EXETER’s violations of the Consumer Credit Reporting Agencies Act were

    20   negligent, entitling Plaintiffs to recover actual damages pursuant to Civil Code §1785.31.

    21          50.     EXETER’s violations of the Consumer Credit Reporting Agencies Act were

    22   willful, entitling Plaintiff to recover punitive damages of up to $5,000 for each violation, and any

    23   other relief the court deems proper, pursuant to Civil Code §1785.31(a)(1)(B). Plaintiff alleges

    24   that each month of unlawful credit reporting consists of a separate and actionable violation under

    25   Civil Code §1785.31(a)(1)(B).

    26          51.     Plaintiff has been aggrieved by EXETER’s violations described herein, and seeks

    27   injunctive relief to put an end to said violations pursuant to Civil Code §1785.31(b).

    28          52.     Plaintiff is entitled to an award of attorneys’ fees and costs pursuant to Civil Code
                                                                    11
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 13 of 34 Page ID #:20



     1   §1785.31(d).

     2          WHEREFORE, Plaintiff prays for relief as set forth below.

     3                                 FOURTH CAUSE OF ACTION
                          (Violations of Business & Professions Code §17200, et seq.)
     4         (By Plaintiff and on Behalf of the Public against EXETER and Applicable Does)
     5          53.     Plaintiff realleges and incorporates herein by reference the allegations in each and

     6   every paragraph above.

     7          54.     Plaintiff files this cause of action individually, and on behalf of the general public,

     8   to challenge and to remedy Defendants’ business practices. Business & Professions Code

     9   §17200, et seq., often referred to as the “Unfair Competition Law,” defines unfair competition to

    10   include any unlawful, unfair, or fraudulent business act or practice. The UCL provides that a

    11   court may order injunctive relief and restitution to affected individuals as remedies for any

    12   violations of the UCL.

    13          55.     Beginning on an exact date unknown to Plaintiff, EXETER has committed acts of

    14   unfair competition proscribed by the UCL, including the practices alleged herein. The acts of

    15   unfair competition include the following:

    16          (a)     EXETER violated and continues to violate the provisions of Civil Code

    17          §2983.2(a) with respect to Plaintiff and the public by failing to send them NOI that

    18          contain the disclosures mandated by that section;

    19          (b)     EXETER breached and continues to breach the terms of its uniform conditional

    20          sales contracts with Plaintiff and the public by breaking its twin promises in the RISCs to

    21          (1) “provide you all notices required by law to tell you when and how much to pay and/or

    22          what action you must take to redeem the vehicle,” and (2) “If you break your promises

    23          (default), we may demand that you pay all you owe on this contract at once, subject to

    24          any right the law gives you to reinstate this contract.”

    25          (c)     EXETER negligently misrepresented and continues to misrepresent to Plaintiff

    26          and members of the public issued defective NOI that they are obligated to pay deficiency

    27          balances;

    28          (d)     EXETER actively concealed and continues to conceal its unlawful activity from
                                                                    12
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 14 of 34 Page ID #:21



     1          Plaintiff and members of the public sent defective NOI;

     2          (e)     EXETER unlawfully, unfairly, and/or fraudulently carried and continues to carry

     3          on its accounts records deficiency balances of Plaintiff and members of the public issued

     4          NOI as amounts lawfully due and owing;

     5          (f)     EXETER unlawfully, unfairly, and/or fraudulently reported and continues to

     6          report to credit reporting agencies the deficiency balances allegedly owed by Plaintiff and

     7          members of the public issued defective NOI as amounts lawfully due and owing;

     8          (g)     EXETER unlawfully, unfairly, and/or fraudulently reported and continues to

     9          report to third parties deficiency balances allegedly owed by Plaintiff and members of the

    10          public issued defective NOI as amounts lawfully due and owing; and

    11          (h)     EXETER unlawfully, unfairly, and/or fraudulently collected and continues to

    12          collect or attempt to collect deficiency balances from Plaintiff and members of the public

    13          sent defective NOI.

    14          (i)     EXETER unlawfully, unfairly, and/or fraudulently continues to send defective

    15          NOI to members of the public.

    16          56.     The business acts and practices of EXETER as hereinabove alleged constitute

    17   unlawful business practices in that, for the reasons set forth above, said acts and practices violate

    18   the provisions of the Rees-Levering Act, constitute systematic breaches of contracts and

    19   constitute violations of the common law.

    20          57.     The business acts and practices of EXETER, as hereinabove alleged, constitute

    21   unfair business practices in that said acts and practices offend public policy and are substantially

    22   injurious to consumers. Said acts and practices have no utility that outweighs the substantial

    23   harm to consumers.

    24          58.     The business acts and practices of EXETER, as hereinabove alleged, constitute

    25   fraudulent business practices in that said acts and practices are likely to deceive the public and

    26   affected consumers as to their legal rights and obligations, and by use of such deception, may

    27   preclude consumers from exercising legal rights to which they are entitled.

    28          59.     The unlawful, unfair, and fraudulent business acts and practices of EXETER
                                                                    13
                                  Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 15 of 34 Page ID #:22



     1   described herein presents a continuing threat to Plaintiff and the public in that EXETER is

     2   currently engaging in such acts and practices, and will persist and continue to do so unless and

     3   until an injunction is issued by this Court.

     4             60.    As a direct and proximate result of the acts and practices described herein,

     5   EXETER has received and collected substantial monies or property to which EXETER is not

     6   entitled. Plaintiff has suffered injury in fact and has lost money or property as a result of the

     7   unlawful, unfair and fraudulent acts and practices of EXETER challenged herein.

     8             61.    Pursuant to Business and Professions Code § 17203, Plaintiff seeks an injunction

     9   that EXETER do the following:

    10             (a)    EXETER shall cease issuing NOI in that contain any of the violations set
                          forth in Paragraph 22 of this Complaint;
    11
                   (b)    EXETER shall not accept any payments from any person who received an
    12                    NOI in the form similar to Exhibit B and shall change all account
                          balances to zero;
    13
                   (c)    EXETER shall take all steps necessary to cease all efforts to collect the
    14                    alleged deficiency balances of members of the public who received an
                          NOI in the form of Exhibit B. This includes, but is not limited to recalling
    15                    all accounts from outside agencies, recalling all such accounts that have
                          been assigned to legal counsel, and dismissing all pending legal actions to
    16                    collect a deficiency balance on any such account; and
    17             (d)    EXETER shall instruct TransUnion, Equifax, and Experian to delete all
                          trade lines with respect to accounts of those members of the public who
    18                    received an NOI in the form of Exhibit B.
    19             62.    In addition, pursuant to Code of Civil Procedure § 1021.5, Plaintiff seeks

    20   recovery of attorneys’ fees, costs and expenses incurred in the filing and prosecution of this

    21   action.

    22             63.    WHEREFORE, Plaintiffs pray for relief as set forth below.

    23                                               PRAYER FOR RELIEF

    24             WHEREFORE, Plaintiff respectfully prays for relief as follows:

    25   (1)       For an order finding and declaring that EXETER’s acts and practices as challenged

    26             herein are unlawful and unfair;

    27   (2)       For an order of restitution in an amount to be determined at trial to restore to Plaintiff all

    28             money acquired by EXETER by means of their unlawful and unfair practices, which
                                                                       14
                                     Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 16 of 34 Page ID #:23



     1         amount is at least equal to all sums collected for alleged deficiency balances following

     2         the disposition of repossessed motor vehicles;

     3   (3)   For entry of an injunction that EXETER do the following:

     4         (a)    EXETER shall cease issuing NOI in that contain any of the violations set
                      forth in Paragraph 22 of this Complaint;
     5
               (b)    EXETER shall not accept any payments from any person who received an
     6                NOI in the form similar to Exhibit B and shall change all account
                      balances to zero;
     7
               (c)    EXETER shall take all steps necessary to cease all efforts to collect the
     8                alleged deficiency balances of members of the public who received an
                      NOI in the form of Exhibit B. This includes, but is not limited to recalling
     9                all accounts from outside agencies, recalling all such accounts that have
                      been assigned to legal counsel, and dismissing all pending legal actions to
    10                collect a deficiency balance on any such account; and
    11         (d)    EXETER shall instruct TransUnion, Equifax, and Experian to delete all
                      trade lines with respect to accounts of those members of the public who
    12                received an NOI in the form of Exhibit B.
    13   (4)   For such compensatory damages in an amount to be determined at trial, which amount is

    14         at least equal to all sums paid by Plaintiff for alleged deficiency balances following the

    15         disposition of repossessed motor vehicles;

    16   (5)   For statutory damages;

    17   (6)   For prejudgment interest to the extent permitted by law;

    18   (7)   For an award of attorneys’ fees, costs, and expenses pursuant to Civil Code §1780(e),

    19         Civil Code §2983.4, Code of Civil Procedure §1021.5, and any other applicable

    20         provisions of law;

    21   (8)   For declaratory relief; and

    22   (9)   For such other and further relief as the Court may deem just and proper.

    23   Dated: January 24, 2020                              KEMNITZER, BARRON, & KRIEG, LLP
    24

    25                                             By:
                                                              ADAM MCNEILE
    26

    27

    28
                                                                  15
                                Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 17 of 34 Page ID #:24



     1                                       JURY TRIAL DEMANDED

     2         Plaintiffs demands a trial by jury on all issues so triable.

     3   Dated: January 24, 2020                               KEMNITZER, BARRON, & KRIEG, LLP
     4

     5                                              By:
                                                               ADAM MCNEILE
     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                                   16
                                 Complaint for Injunctive and Declaratory Relief, Restitution, and Damages
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 18 of 34 Page ID #:25




                            EXHIBIT A
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 19 of 34 Page ID #:26
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 20 of 34 Page ID #:27
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 21 of 34 Page ID #:28
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 22 of 34 Page ID #:29
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 23 of 34 Page ID #:30




                            EXHIBIT B
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 24 of 34 Page ID #:31
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 25 of 34 Page ID #:32
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 26 of 34 Page ID #:33
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 27 of 34 Page ID #:34
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 28 of 34 Page ID #:35
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 29 of 34 Page ID #:36
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 30 of 34 Page ID #:37
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 31 of 34 Page ID #:38
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 32 of 34 Page ID #:39




                            EXHIBIT C
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 33 of 34 Page ID #:40
Case 2:20-cv-02567-MWF-GJS Document 1-1 Filed 03/18/20 Page 34 of 34 Page ID #:41
